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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF VERMONT

BIDDEFORD INTERNET CORPORATION                       )
D/B/A GREAT WORKS INTERNET                           )
and GWI VERMONT, LLC,                                )                           2:25-cv-00354
                                                                     Docket No. _____________
                                                     )
               Plaintiffs,                           )
                                                     )               JURY TRIAL
F.X. FLINN,                                          )               REQUESTED
                                                     )
               Defendant.                            )


                                          COMPLAINT

       Plaintiffs Biddeford Internet Corporation d/b/a Great Works Internet and GWI Vermont,

LLC (collectively, “GWI”) for its complaint against F.X. Flinn, alleges as follows:

                                           The Parties

       1.      Plaintiff GWI Vermont, LLC is a limited liability company whose sole member is

Plaintiff Biddeford Internet Corp. d/b/a Great Works Internet, a corporation organized under the

laws of Maine, with a principal place of business at 40 Main Street, Suite 13-127, Biddeford,

Maine 04005.

       2.      F.X. Flinn is an individual domiciled in Windsor County, Vermont. Mr. Flinn is the

chair of the governing board of East Central Vermont Telecommunications District.

                                     Jurisdiction and Venue

       3.      The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because the

amount in controversy exceeds $75,000.00, exclusive of interest and costs, and because complete

diversity of citizenship exists. Plaintiff Biddeford Internet Corporation d/b/a Great Works Internet

is a Maine citizen. Plaintiff GWI Vermont, LLC is a Maine citizen. Defendant F.X. Flinn is a

Vermont citizen.



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       4.      The Court has personal jurisdiction over F.X. Flinn because he is a Vermont citizen

and because this action arises out of F.X. Flinn’s tortious acts taking place within the State of

Vermont.

       5.      Venue lies in the District of Vermont pursuant to 28 U.S.C. § 1391(b)(1)-(2)

because F.X. Flinn resides in the District of Vermont and because a substantial part of the events

or omissions giving rise to GWI’s claims occurred in the District of Vermont.

                                           The Facts

       6.      GWI is in the business of constructing, maintaining, operating and providing

internet connectivity services and Voice Over Internet Protocol-based phone services to, among

others, subscribers with the East Central Vermont Telecommunications District (“ECFiber” or the

“District”) presided over by its governing board chairman, F.X. Flinn.

       7.      In or about January 1, 2016, ECFiber entered into a 10-year Operating Agreement

with a third-party company, ValleyNet, Inc. (“ValleyNet”), pursuant to which ValleyNet was

retained to provide similar services to ECF’s subscribers to those now provided by GWI.

       8.      ValleyNet encountered difficulty meeting quality and financial goals, and on top of

that confronted two serious issues in 2021 and 2022. Specifically, in 2021, ValleyNet and ECFiber

were sued by a group of Vermont farmers who claimed that the farmers’ cows had been hurt by

ingesting stainless steel wire in their feed for which ValleyNet and ECFiber were responsible.

Then in 2022, a ValleyNet contractor was indicted and later found guilty of embezzling more than

a half-million dollars from ValleyNet’s accounts.

       9.      Accordingly, at the request of the ValleyNet Board to GWI, ECFiber, ValleyNet,

and GWI entered into an Assignment and Assumption Agreement dated as of December 31, 2022,




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in which GWI assumed from ValleyNet the Operating Agreement and all of ValleyNet’s rights and

obligations thereunder.

       10.     Since that date in connection with its work on behalf of ECFiber under the

Operating Agreement, GWI has made significant investments of money, time, manpower and

training to enhance and broaden ECFiber’s internet infrastructure and network. Since taking over

from ValleyNet, GWI has been able to improve the performance of ECFiber, and has both

maintained quality and met financial goals.

       11.     The 10-year term of the Operating Agreement assumed by GWI ends on December

31, 2025. In that connection, the Operating Agreement provides:

       “This Agreement shall automatically renew itself for additional and successive
       terms often (10) years each, unless notice of non-renewal shall be furnished by one
       party to the other, in writing, at least one hundred and eighty (180) days prior to the
       original or successive termination date.”

               Accordingly, GWI has been negotiating in good faith with ECFiber to renew the

Operating Agreement for another ten-year term. Those negotiations, however, have been thwarted

by F.X. Flinn’s unlawful and egregious conduct as set forth hereinafter.

                                       F.X. Flinn’s Scheme

       12.     In or about the latter part of 2024, F.X. Flinn hatched a plan to form his own

management company and then replace GWI with a combination of a new operating company and

his own venture (a management company playing a role identical to that of GWI), so as to pay

himself a substantial amount of money out of the funds previously paid by ECFiber to GWI.

       13.     However, in consummating his plan, F.X. Flinn faced and continued to face a

significant hurdle. ECFiber has no employees and no experience in performing the work that GWI

performs. Indeed, ECFiber stated in its Limited Offering Memorandum accompanying its sale to

the public of $7,530,000 in Revenue Bonds the following:

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       “Both ECF and the District have always contracted with an experienced internet
       service provider to run the ECFiber business subject to broad policies established
       by the board through contractual mechanisms designed to prevent interference with
       proper business practices. Board members have no control over or responsibility
       for day-to-day operations.”

               As such, F.X. Flinn has had to scheme around the fact that, while he and ECFiber

represented to bondholders that ECFiber has “always contracted with an experienced internet

service provider to run the ECFiber business,” there is presently no experienced network operator

available that can readily assume operation of the network from GWI. As a result, Mr. Flinn has

set upon a plan to literally poach GWI’s business and its opportunity with ECFiber for himself.

       14.     As a first step in implementing his insidious plan, F.X. Flinn embarked on a scheme

to steal GWI’s confidential and propriety information and trade secrets, which was soon followed

by his taking active steps to steal GWI’s employees, and to also cause ECFiber to begin to negotiate

on a renewed deal with GWI in bad faith, all with the end game of taking the opportunity of a new

Operating Agreement for himself.

       15.     Accordingly, in early February 2025, F.X. Flinn coopted a GWI employee to furnish

to him a surreptitiously recorded confidential meeting of GWI personnel in order to gain access to

GWI’s proprietary information and to falsely contend that GWI was in breach of the Operating

Agreement.

       16.     Specifically, on February 11, 2025, GWI’s leadership convened a confidential

meeting at which only GWI personnel were invited and present, to discuss GWI’s negotiating

strategy with ECFiber as well as various other confidential aspects of GWI’s business. At the

meeting, GWI’s leadership discussed, among other things, GWI’s economics, sales strategy, and

business processes, as well as its strategies for reaching a renewed Operating Agreement with

ECFiber.


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       17.     Unbeknownst to GWI leadership, a GWI employee (Employee 1) acting in concert

with F.X. Flinn audio and video recorded the approximately two-hour GWI meeting, and then

shared the contents of those recordings with Mr. Flinn.

       18.     On the following day, F.X. Flinn caused a letter to be sent to GWI, a copy of which

is attached as Ex. A, alleging various ways in which GWI purportedly has breached the parties’

Operating Agreement. The letter was and is frivolous and pretextual, and GWI told ECFiber so in

a reply letter dated February 14, 2025, a copy of which is attached as Ex. B.

       19.     Nonetheless, on February 19, 2025, F.X. Flinn caused ECFiber to write GWI a letter

stating that ECFiber was “no longer interested in negotiating any extension of its relationship with

GWI.” There is absolutely no basis for Mr. Flinn’s position against GWI other than the fact that

he wants to take GWI’s business opportunity with ECFiber for himself.

       20.     Even before the above-referenced notice to GWI, F.X. Flinn caused ECFiber to

retain two consultants that he himself hand-picked to deliver a pre-ordained message that ECFiber

should retain a new management company whose “primary purpose will be to provide strategic

guidance, oversee network operations (regardless of the operator), develop in-house expertise, and

ensure alignment with ECFiber’s mission.” F.X. Flinn failed to disclose his role in the selection

of these consultants or his role in the “recommendations” the consultants purportedly reached to

establish a new operator and a new management company headed by F.X. Flinn himself.

       21.     F.X. Flinn’s has approached GWI’s employees for the purpose and with the intent

of poaching them for a new operating company to be overseen by his new management company,

all in furtherance of his scheme. Indeed, part of the consultants’ recommendation is that the new

management company:




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       “Negotiate with GWI employees: If feasible and desirable (and legally
       permissible), negotiate with selected GWI employees regarding potential
       transition[.]”

       22.     As the culmination of his scheme, on March 9, 2025, F.X. Flinn sent an email to

the ECFiber governing board, stating:

       “A public benefit non-profit called the Vermont ISP Operating Company (VISPO)
       is being set up this week. Me, Dan Leavitt, and Al Iuppa are the initial directors
       and will be adopting the bylaws and then nominating directors. Prior to electing
       them, the executive committee will have to approve them. Our goal will be to have
       5 directors in place within the next months and as this is intended to be a working
       board of people with relevant business experience, who will be compensated with
       stipends, please get me the names of those you think might be a fit.”

       23.     Despite his clear conflict of interest, Mr. Flinn has advised ECFiber that “The next

actionable task of the GB [Governing Board] will be to approve a contract between the District

and [his new management company], presumably at the April meeting.” [Bracket added].

       24.     Mr. Flinn’s scheme to set up his own management company is in direct conflict

with the representations that he and ECFiber made to prospective investors in ECFiber’s bonds in

their Limited Offering Memorandum, in which they assured the public (and GWI) that:

       “The District will undertake the current and future phases of the construction of the
       Network, and operate and manage the Network with GWI Vermont …” (Limited
       Offering Memorandum P. 35) (emphasis added).

       25.     Indeed, Mr. Flinn and ECFiber told the prospective bondholders in the same

Limited Offering Memorandum that even the financial projections were done on the basis of a

continued working relationship with the experienced team at GWI, representing:

       “In developing the financial model for the Network, [our] projections are based on
       the expected average of all purchased services. The District and GWI Vermont
       anticipate that these revenue streams will continue for the foreseeable future.”


       26.     Equally troubling is the fact that Mr. Flinn has no “Plan B”: if he is not successful

in poaching GWI’s business and incorporating it into his own management company, ECFiber will

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have no experienced operator to run its internet operations. Therefore, F.X. Flinn has been stepping

up his efforts to take GWI’s business, and to persist in taking steps to ruin GWI’s relationship with

ECFiber and instead take the fruits of that relationship for himself.

       27.     ECFiber has taken its cue from its chairman F.X. Flinn in negotiating a renewed

Operating Agreement with GWI, taking frivolous positions that are factually incorrect and

obviously so. For example, ECFiber is adamant that GWI is in breach of the current Operating

Agreement because it purportedly has been using ECFiber employees to perform GWI’s work.

But as ECFiber explicitly informed the investing public on page 13 of its own Limited Offering

Memorandum: “The District has no employees.” ECFiber’s representation to that effect is true,

making its claim now about GWI’s using ECFiber’s employees a complete fabrication, apparently

made at the behest of F.X. Flinn to shut the door on GWI so that he can march through it.

                              FIRST CAUSE OF ACTION
                  Misappropriation of Trade Secrets, 9 V.S.A. § 4601 et seq.

       28.     GWI repeats and incorporates by reference the allegations in paragraphs 1 through

27 of this Complaint.

       29.     GWI owns trade secrets protected by law and from which it derives independent

economic value, actual or potential, from not being generally known to, and not being readily

ascertainable by proper means by others who can obtain economic value from their disclosure or

use.

       30.     GWI undertook reasonable efforts to maintain the secrecy of its trade secrets.

       31.     F.X. Flinn acquired GWI’s trade secrets, knowing or having reason to know that

the trade secrets were acquired by improper means, namely by soliciting and accepting the

surreptitious and unauthorized video-recording of GWI’s internal meeting by Employee 1 on

February 11, 2025.

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       32.     F.X. Flinn disclosed and/or used GWI’s trade secrets, knowing or having reason to

know that his knowledge of the trade secrets was derived from or through a person who had utilized

improper means to acquire it, namely the surreptitious and unauthorized video-recording by

Employee 1 on February 11, 2025.

       33.     F.X. Flinn’s misappropriation was malicious, as it was undertaken in furtherance of

a scheme to manufacture a pretext for ECFiber’s non-renewal of the Operating Agreement and

pave the way for F.X. Flinn’s own management company to succeed GWI, for his own personal

and pecuniary gain.

       34.     GWI has been damaged by F.X. Flinn’s misappropriation of its trade secrets, for

which GWI requests relief in the form of monetary remedies and/or injunctive relief to destroy the

recordings (and all copies, notes, summaries, extracts derived therefrom) and to refrain from

further misappropriation.

                               SECOND CAUSE OF ACTION
                                   Unfair Competition

       35.     GWI repeats and incorporates by reference the allegations in paragraphs 1 through

34 of this Complaint.

       36.     F.X. Flinn engaged in acts of unfair competition against GWI by supervising

Employee 1, directing that Employee 1 provide GWI’s confidential information to him, improperly

obtaining GWI’s confidential material from Employee 1 and retaining it, and putting that material

to unfair competitive use by disseminating it within ECFiber.

       37.     F.X. Flinn undertook these acts in order to unfairly disadvantage GWI as part of an

ongoing negotiation to renew the Operating Agreement and to bolster F.X. Flinn’s scheme to

establish a management company in which he would serve in a leadership role that would oversee

a new operating company.

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       38.     F.X. Flinn engaged in misappropriation and exploitation of GWI’s confidential

information, assets, and property for pecuniary gain.

       39.     GWI has suffered damages as a direct and proximate result of F.X. Flinn’s acts of

unfair competition, for which GWI requests relief in the form of monetary remedies and/or

injunctive relief to destroy the recordings (and all copies, notes, summaries, extracts derived

therefrom) and to refrain from further acts of unfair competition.

                                THIRD CAUSE OF ACTION
                Tortious Interference with Prospective Business Relationship

       40.     GWI repeats and incorporates by reference the allegations in paragraphs 1 through

39 of this Complaint.

       41.     GWI and ECFiber entered into a valid and enforceable contract, the Operating

Agreement, which was up for renewal at the end of 2025.

       42.     GWI negotiated in good faith with ECFiber in an effort to win a renewal of the

Operating Agreement.

       43.     GWI had a valid business relationship with ECFiber, and a valid and reasonable

expectancy of a new renewal of the Operating Agreement.

       44.     F.X. Flinn had knowledge of this relationship and GWI’s expectancy of a renewal

of the Operating Agreement that was being negotiated.

       45.     F.X. Flinn improperly interfered with GWI’s prospective business relationship with

ECFiber by his improper acts and conduct as aforesaid.

       46.     GWI has suffered damages due to the loss of expected profits resulting from F.X.

Flinn’s improper acts of interference.




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                               FOURTH CAUSE OF ACTION
                              Tortious Interference with Contract

       47.      GWI repeats and incorporates by reference the allegations in paragraphs 1 through

46 of this Complaint.

       48.      At all relevant times, GWI and ECFiber had a valid contract, the Operating

Agreement.

       49.      The Operating Agreement provided that no GWI employee would be supervised or

report to any ECFiber official.

       50.      F.X. Flinn knew about the Operating Agreement and all its provisions but still

intentionally, unfairly, and improperly interfered with the contractual relationship between GWI

and ECFiber by commandeering and directing Employee 1, to report to him and to undertake tasks

that were disloyal to GWI, violated GWI policies, and were for his personal gain.

       51.      F.X. Flinn’s improper interference caused ECFiber to violate the Operating

Agreement and directly harmed GWI.

       52.      GWI seeks relief in the form of monetary remedies and/or injunctive relief against

F.X. Flinn’s further interference in GWI’s operations, commandeering of and attempts to poach

GWI employees, to the extent permitted by law.

                                  FIFTH CAUSE OF ACTION
                                  Negligent Misrepresentation

       53.      GWI repeats and incorporates by reference the allegations in paragraphs 1 through

52 of this Complaint.

       54.      F.X. Flinn, as Chair of the Governing Board of ECFiber, made representations in

the Limited Offering Memorandum.




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       55.      These representations were made in the course of ECFiber’s business and, by F.X.

Flinn, in his capacity as Chair of the Governing Board acting within the scope of his duties.

       56.      These representations were made for the guidance of others, including GWI, in their

business transactions.

       57.      F.X. Flinn, as Chair of the Governing Board, also made these representations while

under a public duty to give the information.

       58.      Those representations included that ECFiber has “always” contracted with an

“experienced” Internet Service Provider to run the ECFiber business, and that ECFiber “will

undertake the current and future phrases of the construction of the Network, and operate and

manage the Network with GWI Vermont under the Operating Agreement and Assignment from

ValleyNet to GWI Vermont.”

       59.      As demonstrated by F.X. Flinn’s actions and statements as alleged herein, these

representations are false.

       60.      F.X. Flinn has not disclosed his scheme for ECFiber to stand up a management

company of which he would be a compensated director.

       61.      F.X. Flinn, as Chair of the Governing Board of ECFiber, has failed to exercise

reasonable care or competence in making these representations in the Limited Offering

Memorandum and in failing to ensure that corrective disclosures are made.

       62.      GWI justifiably relied upon ECFiber’s representations in the Limited Offering

Memorandum, including by negotiating in good-faith with ECFiber regarding the Operating

Agreement, investing capital and deploying human resources into the ECFiber network,

reasonably expecting that ECFiber would uphold its bond covenants and representations in the

Limited Offering Memorandum.



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        63.      GWI has suffered, and will continue to suffer, damages as a direct and proximate

result of F.X. Flinn’s negligent misrepresentations.

                                   SIXTH CAUSE OF ACTION
                                      Promissory Estoppel

        64.      GWI repeats and incorporates by reference the allegations in paragraphs 1 through

63 of this Complaint.

        65.      In the Limited Offering Memorandum, F.X. Flinn, as Chair of the Governing Board

of ECFiber, represented that ECFiber “will undertake the current and future phrases of the

construction of the Network, and operate and manage the Network with GWI Vermont under the

Operating Agreement and Assignment from ValleyNet to GWI Vermont.”

        66.      This representation constituted a promise to GWI that F.X. Flinn should have

reasonably expected to induce action or forbearance.

        67.      Future phases of the construction of ECFiber’s network remain to be constructed.

        68.      GWI is presently engaged in constructing and operating the network.

        69.      GWI reasonably relied on F.X. Flinn’s promise, including by negotiating in good-

faith with ECFiber regarding the Operating Agreement, investing capital and deploying human

resources into the ECFiber network, expecting that GWI would continue to work with ECFiber to

complete construction of the network.

        70.      It is unjust for F.X. Flinn to renege on this promise, and to scheme to steal GWI’s

employees to staff a non-profit network operator, and to create a management company he would

lead that would supervise the non-profit network operator.

        71.      GWI has suffered, and will continue to suffer, damages as a direct and proximate

result of F.X. Flinn’s actions.

        72.      Injustice can be avoided only be enforcing F.X. Flinn’s promise.

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                                SEVENTH CAUSE OF ACTION
                                    Unjust Enrichment

       73.      GWI repeats and incorporates by reference the allegations in paragraphs 1 through

72 of this Complaint.

       74.      Over the course of its years-long dealings with F.X. Flinn, GWI has conferred

numerous benefits to ECFiber pursuant to the Operating Agreement.

       75.      GWI has made and continues to make significant investments and operational

improvements in the ECFiber network.

       76.      GWI has trained its employees and deployed its employees to operate the ECFiber

network.

       77.      GWI has undertaken this work in order to ensure the delivery of broadband services

to commercial, residential, government and educational subscribers in the State of Vermont and in

the District, as provided in the Operating Agreement.

       78.      GWI did not undertake this work and assemble a team of trained staff simply for

F.X. Flinn to poach that staff, misappropriate GWI’s confidential information, and commandeer

GWI’s operations and business for his personal financial gain.

       79.      It would be inequitable and unjust for F.X. Flinn to retain these benefits, through

his own unlawful actions, without compensating GWI for value.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs Biddeford Internet Corporation d/b/a Great Works Internet and

GWI Vermont, LLC (“GWI”) respectfully request that this Court:

       A.       Award GWI compensatory damages;

       B.       Award GWI damages for actual loss and unjust enrichment, or in the alternative, a

reasonable royalty;

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       C.      Award GWI punitive damages pursuant to 9 V.S.A. § 4603(b);

       D.      Enter judgment as against F.X. Flinn individually and in his official capacity as

Chair of the governing board of East Central Vermont Telecommunications District;

       E.      Enter an Order(s) preliminarily/permanently enjoining F.X. Flinn from

misappropriating GWI’s trade secrets and confidential information, interfering in GWI’s

operations, interfering with GWI’s contracts and prospective business relations, and soliciting

GWI’s employees;

       F.      Award GWI restitution and disgorgement remedies;

       G.      Award GWI attorneys’ fees, costs, and interest allowed by law; and

       H.      Grant such other and further relief as the Court may deem just and proper.

                                       JURY DEMAND

       Plaintiff Biddeford Internet Corporation d/b/a Great Works Internet and Plaintiff GWI

Vermont, LLC demand a jury trial on all issues so triable.




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                                           Respectfully submitted,

                                           QUINN EMANUEL URQUHART
                                           & SULLIVAN, LLP

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                                           GWI Vermont, LLC

Dated: March 26, 2025




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